
BLUE, Judge.
J.A. appeals from the order finding him in violation of section 843.02, Florida Statutes (1993), for obstructing an officer without violence. He argues that the trial court erred in denying his motion to dismiss filed pursuant to Florida Rule of Juvenile Procedure 8.085(a)(6) because the -undisputed material facts did not establish a prima facie case of guilt. We agree and reverse.
The stipulated facts contain no showing that J.A. unlawfully obstructed the officers in the exercise of their legal duty. The facts show that once the officer directed J.A. to stop, an investigatory stop occurred. “An investigatory stop requires a well-founded, articulable suspicion of criminal activity.” Popple v. State, 626 So.2d 185, 186 (Fla.1993). The record contains no founded suspicion of criminal activity on the part of J.A. Even though J.A ran from the officers, flight alone does not constitute obstructing, nor does flight itself give rise to a well-founded suspicion of criminal activity. F.E.C. v. State, 559 So.2d 413 (Fla. 2d DCA 1990). Under the particular facts of this case, the court erred in denying J.A.’s motion to dismiss.
Accordingly, we reverse the order denying JA.’s motion to dismiss and remand with directions to discharge him.
THREADGILL, C.J., and FULMER, J., concur.
